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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

BRANOVATIONS, INC.,                         |
    Plaintiff,                              |
v.                                          |       Case No: 2:12-cv-306-FtM-29UAM
                                            |
ONTEL PRODUCTS, CORPORATION,                |
     Defendant                              |
                                            |

         NOTICE OF WITHDRAWAL OF ALL PENDING PLEADINGS
  INCLUDING PLAINTIFF'S MOTION FOR DIRECTED VERDICT [DOCKET #134];
                  AND BILL OF COSTS [DOCKET #140]


       Plaintiff, Branovations, Inc., hereby withdraws all pending motions and other pleadings,

including Docket items 134 and 140, as moot and requests that the Court close this matter as

resolved by the parties.


Dated: April 11, 2014                                      Respectfully submitted,

                                                            /s/ Joseph J. Zito
                                                           Joseph J. Zito
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                                                           Suite 200
                                                           Washington, DC 20036
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                                CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing NOTICE OF WITHDRAWAL OF
PENDING PLEADINGS was served on Defendant’s counsel via the Court’s CM-ECF system
with “Notice of Electronic Filing” to the attorneys of record who have consented to accept such
notice as service of this document by electronic means. There are no other counsel of record not
deemed to have consented to electronic service. Served on this the 11th day of April, 2014.

                                                                    /s/ Joseph J. Zito

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